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 8                           UNITED STATES DISTRICT COURT
 9
                           CENTRAL DISTRICT OF CALIFORNIA
10
      MICHAEL GARCIA,              )                Case No: 2:14-cv-00204-SS
11                                 )
12                      Plaintiff, )
                                   )
13                                                  ORDER GRANTING
           vs.                     )
                                                    STIPULATION RE: DISMISSAL
14                                 )
                                                    OF ENTIRE ACTION AND ALL
      PERFORMANT RECOVERY, INC.; )
15                                                  PARTIES WITH PREJUDICE
      and DOES 1 to 10, inclusive, )
16                                 )
                        Defendant. )
17                                 )
18

19              The Court has reviewed the Stipulation of Plaintiff MICHAEL GARCIA and
20
      Defendant PERFORMANT RECOVERY, INC. to dismiss with prejudice the
21

22    above-entitled action, in its entirety. Pursuant to the Joint Stipulation between
23    parties, the Court orders as follows:
24
      ///
25

26    ///
27
      ///
28

     {00015052;1}                             -1-      [PROPOSED] ORDER RE: STIPULATION RE DISMISSAL
     07748.00                                                                 CASE NO: 2:14-cv-00204-SS
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 1              That the above-entitled lawsuit is hereby dismissed, with prejudice, pursuant
 2
      to FRCP 41(a)(1)(A)(ii). Each Party shall bear its own costs and expenses.
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 4                                       IT IS SO ORDERED

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 6
      DATED: 3/13/14                                   /S/
 7                                       UNITED STATES MAGISTRATE JUDGE
 8                                       SUZANNE H. SEGAL
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     {00015052;1}                              -2-      [PROPOSED] ORDER RE: STIPULATION RE DISMISSAL
     07748.00                                                                  CASE NO: 2:14-cv-00204-SS
